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        EXHIBIT 9
         Case:
          Case22-16632, 12/05/2023,
               23-11131-TMH     Doc ID: 12832897,
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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      DEC 05 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 ANDREW E. ROTH,                                No. 22-16632

               Plaintiff - Appellee,
                                                D.C. No. 4:21-cv-04288-YGR
   v.                                           U.S. District Court for Northern
                                                California, Oakland
 FORIS VENTURES, LLC; et al.,
                                                MANDATE
               Defendants - Appellants.




 ANDREW E. ROTH,                                No. 22-16633

               Plaintiff - Appellant,
                                                D.C. No. 4:21-cv-04288-YGR
   v.                                           U.S. District Court for Northern
                                                California, Oakland
 FORIS VENTURES, LLC; et al.,

               Defendants - Appellees.


        The judgment of this Court, entered November 13, 2023, takes effect this

date.

        This constitutes the formal mandate of this Court as to all parties except

Amyris, Inc., issued pursuant to Rule 41(a) of the Federal Rules of Appellate

Procedure.
Case:
 Case22-16632, 12/05/2023,
      23-11131-TMH     Doc ID: 12832897,
                           1197-7   Filed DktEntry:
                                          01/23/24 52, Page
                                                    Page    2 of
                                                          3 of 32

                                    FOR THE COURT:

                                    MOLLY C. DWYER
                                    CLERK OF COURT
